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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 10-198
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   ARTUR MANASARYAN,                    )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Bank Fraud

15 Date of Detention Hearing:     May 11, 2010

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant is a permanent legal resident of the United States. He was not

22 interviewed by Pretrial Services. There is no additional information available about his personal




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01 history, residence, family ties, ties to this District, income, financial assets or liabilities, or his

02 physical/mental health or controlled substance use, if any. Defendant does not contest detention.

03          (2)     The AUSA indicates that multiple identification documents in defendant’s name

04 with different addresses were found after a search was conducted.

05          (3)     Defendant poses a risk of nonappearance due to lack of background information,

06 multiple identification documents, and the nature of the charges. Defendant poses a risk of

07 danger due to the nature of the instant offense, which is alleged to have been part of a multi-state

08 bank fraud conspiracy.

09          (4)     There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13          (1)     Defendant shall be detained pending trial and committed to the custody of the

14                  Attorney General for confinement in a correction facility separate, to the extent

15                  practicable, from persons awaiting or serving sentences or being held in custody

16                  pending appeal;

17          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                  counsel;

19          (3)     On order of a court of the United States or on request of an attorney for the

20                  Government, the person in charge of the corrections facility in which defendant

21                  is confined shall deliver the defendant to a United States Marshal for the purpose

22                  of an appearance in connection with a court proceeding; and




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01       (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02             counsel for the defendant, to the United States Marshal, and to the United States

03             Pretrial Services Officer.

04       DATED this 10th day of May, 2010.



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06                                           Mary Alice Theiler
                                             United States Magistrate Judge
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     DETENTION ORDER                                                                   PAGE 3
